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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
x

 

In re:
Bracha Cab Corp. et. al., Chapter ll

Debtors. Case No. l7-466l3-nhl
Jointly Administered

 

X

DEBTORS’ MOTION TO INCREASE ITS EXCLUSIVE
PERIOD FOR FILING A PLAN OF REORGANIZATION

PLEASE TAKE NOTICE that upon the annexed application of Bracha Cab Corp.,
Dovber Cab Corp., Dabri Trans Corp., Merab Cab Corp., Fit Taxi Corp., Jarub Trans Corp.,
Somyash Taxi Corp., NY Canteen Taxi Corp., Lechaim Cab Corp., Tamar Cab Corp., NY
Genesis Taxi Corp., NY Tint Taxi Corp., NY Stance Taxi Corp., NY Energy Taxi Corp., Jackhel
Cab Corp., debtors and debtors and debtor-in-possession, (“Debtors”), by ita attorneys,
Rosenberg, Musso & Weiner, LLP, a motion will be made before Honorable Carla E. Craig,
Chief United States Bankruptcy Judge, at the United States Bankruptcy Court, 271 Cadman Plaza
East, Brooklyn, New York, on April 26, 2018 at l 1100 a.m., or as soon thereafter as counsel can
be heard, for an order pursuant to ll U.S.C. §1121(d) increasing the Debtors’ exclusive period to
file their plans of reorganization and for soliciting acceptances thereto for a period of ninety (90)
days, together with such other and further relief as may be deemed just and proper in the
premises.

PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion
shall be in writing, shall conform to the Federal Rules of Bankruptcy Procedure and the Local
Bankruptcy Rules of the Eastern District of New York, and must be filed on or before April l9,
2018 With the court: (a) (i) through the Bankruptcy Court’s electronic filing system (in

accordance With General Order M-182) which may be accessed through the internet at

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https://ecf.nyeb.uscourts. gov and (ii) in portable document format (PDF) using Adobe Exchange
software for conversion, or (b) if a party is unable to file electronically, such party shall submit
the response or objection in PDF format on a diskette in an envelope with the case name, case
number and title of document: or (c) if a party is unable to file electronically or use PDF forrnat,
such party shall submit the response or objection on a diskette in either Word, Word Perfect, or
DOS test (ASCII) format. A response or objection filed by a party with no legal representation
shall comply with section (b) or (c) as set forth above. All responses or objections shall further be
served upon (i) the attorneys for the Debtors, Rosenberg, Musso & Weiner, Counsel for Debtor,
26 Court Street, Suite 2211, Brooklyn, NY 11242, (Att: Bruce Weiner, A Member of the Firrn)
and (ii) the Off`lce of the United States Trustee, 201 Varick Street, Suite 1006, New York, New
York 10014, so as to be actually received no later than 12:00 p.m. (EST) on April 19, 2018.
Dated: Brooklyn, New York

April 4, 2018

Rosenberg, Musso & Weiner, LLP
Attorneys for Debtor d Debtor-i Possession

 

By: /s/
Bruce Weiner
26 Court St., Suite 2211
Brooklyn, New York 11242
(718) 855-6840

TO:

Offlce of the U.S. Trustee
201 Varick Street, Suite 1006
New York, NY 10014

All creditors and parties in interest

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

X

 

In re:
Bracha Cab Corp. et. al., Chapter ll
Debtors. Case No. 1 7-46613-nh1
Jointly Administered

 

X

APPLICATION IN SUPPORT OF MOTION
TO INCREASE EXCLUSIVE PERIOD TO FILE PLAN

The application of Bracha Cab Corp., Dovber Cab Corp., Dabri Trans Corp., Merab Cab
Corp., Fit Taxi Corp., Jarub Trans Corp., Somyash Taxi Corp., NY Canteen Taxi Corp., Lechaim
Cab Corp., Tamar Cab Corp., NY Genesis Taxi Corp., NY Tint Taxi Corp., NY Stance Taxi
Corp., NY Energy Taxi Corp., Jackhel Cab Corp., debtors and debtors and debtor-in-possession,
(“Debtors”), by their attorneys, Rosenberg, Musso & Weiner, LLP respectfully shows this
Honorable Court and alleges:

l. On December 8, 2017, Bracha Cab Corp., Dovber Cab Corp., Dabri Trans Corp.,
Merab Cab Corp., Fit Taxi Corp., Tamar Cab Corp., and NY Genesis Taxi Corp. filed voluntary
petitions for relief under chapter 11 of the Bankruptcy Code. On December ll, 2017, Jarub Trans
Corp., Somyash Taxi Corp., NY Canteen Taxi Corp., Lechaim Cab Corp., Tamar Cab Corp., NY
Genesis Taxi Corp., NY Tint Taxi Corp., NY Stance Taxi Corp., NY Energy Taxi Corp., Jackhel
Cab Corp. filed voluntary petitions for relief under chapter ll of the Bankruptcy Code. On
January 19, 2018, this Court entered an order procedurally consolidating the cases filed by the
Debtors and directing that they be jointly administered by the Court.

2. The Debtors operate 15 related businesses at 1281 Carroll Street, Brooklyn, New
York that together own 35 taxi medallions. Each of the medallions is used by a New York City

taxi cab and each generates income for the Debtors. Capital One Equipment Finance Corp.

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(“Capital One”) holds the security interest in the medallions and the revenue generated by the
medallions.

3. Section 1 121(b) of the Bankruptcy Code states that only a debtor may file a plan
until after 120 days from the order for relief and if a debtor files a plan within the 120 day
exclusive period, it has 180 days after the order for relief to obtain acceptance of such plan.
Section 1 121(d)(l) of the Bankruptcy Code states that on request of a party in interest made
within the 120 day period, the court for cause may increase the debtor’s 120 exclusive period to
file a plan and the 180 day period to obtain acceptances of the plan. April 7, 2018 is 120 days
after the order for relief in the cases filed by Bracha Cab Corp., Dovber Cab Corp., Dabri Trans
Corp., Merab Cab Corp., Fit Taxi Corp., Tamar Cab Corp., and NY Genesis Taxi Corp. and April
10, 2018 is 120 days after the order for relief in the cases filed by Jarub Trans Corp., Somyash
Taxi Corp., NY Canteen Taxi Corp., Lechaim Cab Corp., Tamar Cab Corp., NY Genesis Taxi
Corp., NY Tint Taxi Corp., NY Stance Taxi Corp., NY Energy Taxi Corp., and Jackhel Cab
Corp. By this motion filed within 120 days of the order for relief, the Debtors request that this
court increase their exclusive period to file their plans of` reorganization for an additional 90 days
and its time for obtaining acceptances for 90 days.

4. Courts have used several factors in determining whether a debtor has shown
cause for an extension, the size and complexity of the case, the need for sufficient time to
negotiate, good faith progress towards reorganization, whether the debtor is paying its debts as
they come due, whether the debtor has reasonable prospects for reorganization, progress in
negotiating with creditors, length of time case is pending, whether debtor seeks extension to
pressure creditors, and existence of unresolved contingencies In re Adelphia Communications,

352 B.R. 578, 587-90 (Bankr. S.D.N.Y. 2006). One court found that the most important factor is

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whether terminating exclusivity Would move the case forward. In re Dow Corm'ng Corp., 208
B.R. 661, 670 (Bankr. E.D. Mich 1997).

5. Many of the factors exist in this case. The Debtors are making good faith
progress towards reorganization. The Debtors have negotiated a cash collateral agreement with
Capital One, which should be presented to the Court within a few days from the date of this
motion. The Debtors have already begun to make payments to Capital One. The Debtors intend
to meet with Capital One to negotiate a settlement which will be incorporated into a plan of
reorganization The Debtors expect to resolve issues in the family of the Debtors’ principal to
permit a joint settlement proposal to be made. If the Debtors’ request for an increase of its
exclusive time to file a plan is not granted, there is a likelihood that Capital One will file a plan
providing for the immediate sale of the Medallions. It would also give Capital One an unfair
advantage in negotiations with the Debtors which would not move the case forward. Capital One
filed a motion to dismiss these cases or for relief from the stay, and it can protect its rights in the
motion. The Debtors’ cases have been pending for less than 120 days and the Debtors request a
90 day increase of their time to file its plan of reorganization and a 90 day extension of their time
to obtain acceptances to the plan.

6. As a result of the foregoing, the Debtors submit that they has shown cause for a
90 day increase of their exclusive time to file their plans of reorganization and a 90 day increase
of their time to obtain acceptances to the plan. A proposed order is annexed as Exhibit A.

7. Request is hereby made that this Court waive the requirement of the filing of a
memorandum of law in support of this motion as no novel issue of law is presented with respect
hereto.

WHEREFORE, the Debtor respectfully prays for the relief sought herein for which no

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previous application has been made.

Dated: Brooklyn, New York

April 4, 2018 Rosenberg, Musso & Weiner, LLP
Attorneys for the Debtors

By: /s/ V%__/

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